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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
TRUSTEES OF THE NEW YORK CITY
DISTRICT COUNCIL OF CARPENTERS
PENSION FUND, WELFARE FUND, ANNUITY
FUND, AND APPRENTICESHIP, JOURNEYMAN
RETRAINING, EDUCATIONAL AND
INDUSTRY FUND, et al.,

                                   Petitioners,                      21 CIVIL 4783 (DLC)

                  -against-                                             JUDGMENT

SUB-TECH SERVICES, LLC,

                                    Respondent.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated October 5, 2021, the petition to

confirm the arbitration award is granted. The petitioners are awarded judgment in the amount of

$2,334,311.56, the sum of the arbitration award, with interest accruing at a 5.25% annual rate from

February 6, 2021, in the amount of $80,917.47. The petitioners are also awarded post-judgment

interest at the statutory rate. 28 U.S.C. § 1961. Finally, attorney’s fees and costs for the

confirmation proceeding in the amount of $1,982.50 are awarded to petitioners; accordingly, the

case is closed.

Dated: New York, New York
       October 5, 2021
                                                        RUBY J. KRAJICK
                                                    _________________________
                                                          Clerk of Court
                                              BY:
                                                    _________________________
                                                           Deputy Clerk
